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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                  Chapter 11

FTX TRADING LTD., et al., 1                             Case No. 22-11068 (JTD)

         Debtors.                                       (Jointly Administered)



                           CERTIFICATION OF SASCHA N. RAND

         I, Sascha N. Rand, pursuant to 28 U.S.C. § 1746, and to the best of my knowledge and

belief after reasonable inquiry, hereby certify that:

         1.     I am a partner in the law firm of Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn

Emanuel”), and I am duly authorized to make this certification on behalf of Quinn Emanuel. Quinn

Emanuel was retained by FTX Trading Ltd. and its affiliated debtors and debtors-in-possession in

the above-captioned cases (collectively, the “Debtors”). This certification is made in support of

the Twentieth Monthly Fee Statement of Quinn Emanuel Urquhart & Sullivan, LLP as Special

Counsel to the Debtors and Debtors-in-Possession for Compensation for Professional Services

Rendered and Reimbursement of Expenses Incurred for the Period from July 1, 2024 Through and

Including July 31, 2024 (the “Monthly Fee Statement”) and in compliance with Rule 2016-2 of

the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for

the District of Delaware (the “Rule”).


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification
    number are 3288 and 4063 respectively. Due to the large number of debtor entities in these
    Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax
    identification numbers is not provided herein. A complete list of such information may be
    obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity
    Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s,
    Antigua and Barbuda.
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       2.     I have read the Application, and I certify that the Monthly Fee Statement

substantially complies with the Rule.



Dated: New York, New York
       August 29, 2024


                                              /s/ Sascha N. Rand
                                              Sascha N. Rand
                                              Partner, Quinn Emanuel Urquhart & Sullivan, LLP




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